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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                  )
                                                  )
    US DOMINION, INC., et al.,                    )
                                                  )
                                                  )
    Plaintiffs,
                                                  )   Case No. 1:21-cv-02130-CJN
                                                  )
    v.                                            )
                                                  )
    HERRING NETWORK, INC., et al.                 )
                                                  )
                                                  )
    Defendants                                    )
                                                  )

                 DOMINION’S MEMORANDUM IN SUPPORT OF ITS
              MOTION TO DISMISS OAN’S AMENDED COUNTERCLAIMS

         Throughout 2021, OAN faced “a drumbeat” of “reports and commentary” that “accused

OAN of contributing to the events of January 6, 2021.” (Am. Countercls. ¶ 60.)1 For example,

John Oliver, CNN, Bloomberg, HBO, Reuters, and conservative commentator Max Boot criticized

OAN and its role in inciting the Capitol riot, opining that OAN is a “ragtag band of fascists” and

a “far right-wing conspiracy channel” that “is corrosive to our democracy” and that if OAN

“continue[s] to incite viewers” it “should be booted off” the air. (Am. Countercls. ¶¶ 59, 62-64.)

After that outpouring of public criticism, DIRECTV, LLC chose not to renew its affiliation

agreement with OAN. (Id. ¶ 120.) OAN now seeks to blame uninvolved third parties for

DIRECTV’s decision to drop OAN and to announce that decision, as well as attempts by AT&T

Inc. (“AT&T”) to distance itself from OAN in the wake of intense public criticism of OAN. OAN

seeks to drag Dominion2 into that dispute by baldly asserting—falsely and without a single


1
 “OAN” refers to Defendant Herring Network, Inc.
2
 “Dominion” refers to Plaintiffs US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting
Systems Corporation.


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supporting factual allegation—that William Kennard (former U.S. Ambassador to the European

Union, former chairman of the Federal Communications Commission, and Chairman of AT&T)

acted as Dominion’s secret agent in supposedly orchestrating a vast conspiracy to destroy OAN.3

       OAN’s allegations about Kennard’s connections to Dominion are false and rebutted by a

document incorporated into its Amended Counterclaims. Kennard was never on any kind of

“Board of Directors” for—and therefore never had any right to vote on any matters relating to the

governance of—any Staple Street entity with an ownership interest in Dominion. Rather, as the

biography cited in OAN’s Amended Counterclaims makes clear, Kennard’s position on Staple

Street’s “Operating Executive Board” was merely that of an “advisor,” not a director. (Am.

Countercls. p. 19 n. 4.) And OAN intentionally misrepresented Kennard’s advisory role by

changing the name from “Operating Executive Board” to “Operating Executive Board of

Directors” (Am. Countercls. ¶¶ 78, 81), to give the false impression that Kennard was a director

with the power to vote on matters concerning Staple Street. He was not.

       But even taking OAN’s false allegations as true, OAN’s Counterclaims are doomed from

the outset because, as a matter of settled law, directors and investors are not agents of a company

by default, and OAN has pled no other factual allegations to support a finding of agency. Merely

labeling someone an “agent”—as OAN has done here—is a bare legal conclusion which is not

entitled to a presumption of truth. In addition, even if Kennard were an agent of Dominion (he

was not), OAN’s Counterclaims must be dismissed for separate and independent reasons set forth

in detail below.   In short, OAN’s Amended Counterclaims are meritless, barely disguised



3
  OAN uses much of its Amended Counterclaim to attack Dominion as “professional litigants” who filed
these defamation lawsuits “to destroy anyone who stood in their way” and “torch First Amendment
freedoms.” (Am. Countercls. ¶ 1, 5.) That is false. Dominion has no interest in “destroying” anyone.
Dominion filed this lawsuit to recover damages because OAN repeatedly broadcast damaging lies about
Dominion.


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retaliation for Dominion exercising its constitutional right to petition the Court. OAN’s Amended

Counterclaims should be dismissed so that OAN can be held accountable without further delay or

distraction.

                        FACTUAL AND PROCEDURAL HISTORY

        A.     OAN Defames Dominion and Dominion Sues OAN for Defamation.

        After OAN repeatedly broadcast the lie that Dominion had rigged the 2020 election with a

vote-flipping algorithm designed to rig elections for a Venezuelan dictator, Dominion sued OAN

for defamation in this Court on August 10, 2021. OAN sought to dismiss, stay, or transfer the case

under a Colorado River abstention theory and sought dismissal under Rule 12(b)(2). This Court

denied the OAN Defendants’ Motion to Dismiss on November 7, 2022.

        B.     OAN Pleads a Conspiracy Theory in San Diego.

        On March 7, 2022, after DIRECTV had opted not to renew its agreement with OAN

following intense public criticism of OAN, OAN filed a lawsuit in San Diego Superior Court

against DIRECTV, AT&T, AT&T Services, Inc., and AT&T’s Board Chairman William Kennard

(the “San Diego Lawsuit”). Because DIRECTV indisputably had the legal right not to renew the

agreement, OAN strained to find another cause of action: it alleged that DIRECTV had breached

a confidentiality provision by announcing that it was not renewing the agreement (San Diego

Compl. ¶ 64-73) and that DIRECTV had somehow violated a non-disparagement obligation

because John Oliver and other television personalities employed by other entities had criticized

OAN on channels carried by DIRECTV (San Diego Compl. ¶ 74-82). OAN also alleged that

AT&T and its chairman Kennard had tortiously interfered with OAN’s business expectancy in

having the agreement renewed, supposedly by engaging in a vast conspiracy with “liberal

organizations” like the NAACP to get OAN kicked off the airwaves (San Diego Compl. ¶¶ 53-

67). OAN did not name Dominion or any Staple Street entity as defendants in the San Diego


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Lawsuit. On January 13, 2023, the San Diego court dismissed the bulk of OAN’s claims against

DIRECTV, leaving OAN with little hope for anything more than nominal damages from

DIRECTV. The San Diego court is expected to soon rule on OAN’s similarly flawed claims

against AT&T, AT&T Services, and Kennard.

       C.      OAN Files a Third-Party Complaint / Counterclaims.

       Finding little success in its San Diego Lawsuit, OAN decided to try its luck in this Court.

On February 3, 2023, mere weeks after seeing the bulk of its claims against DIRECTV dismissed

in San Diego, OAN filed nearly copy-and-paste Counterclaims against Dominion and a defunct

entity—Staple Street Capital LLC—for the same acts alleged against Kennard in the San Diego

Lawsuit. OAN also named DIRECTV, AT&T, and Kennard as Third-Party Defendants under the

theory that they are obligated to indemnify OAN for defaming Dominion. After Kennard’s counsel

served a Rule 11 Motion for Sanctions on OAN’s counsel, Defendant Christina Bobb withdrew

her claims against Kennard to avoid being sanctioned, but OAN refused: on May 5, 2023, OAN

filed substantially similar Third-Party Claims and Amended Counterclaims against Dominion and

the defunct Staple Street entity, despite previously having been informed that the entity was

defunct. Both of OAN’s Amended Counterclaims against Dominion (Count 1 and Count 2) are

for “tortious interference,” and both are premised on the fanciful, implausible, and factually

rebutted notion that while Kennard was supposedly trying to destroy OAN, he was not only acting

as a secret agent for AT&T, but for Dominion and a (defunct) Staple Street entity as well.

       Far from alleging any facts that could give rise to a plausible inference that Kennard was

acting as Dominion’s agent, OAN actually attached documents to its Amended Counterclaims that

rebut that legal conclusion: a co-founder of Staple Street acknowledged in an email that Kennard

had “never been involved in any decision-making or governance related to Dominion, Staple




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Street, or any Dominion litigation” and Kennard told a reporter that he “can’t speak for Dominion.”

Ex. J and Ex. L to Am. Countercls.

                                           LEGAL STANDARD

          While a court must “accept the allegations of the complaint as true, and construe all facts

and inferences in favor of the plaintiff” when deciding whether to dismiss a claim under Rule

12(b)(6), In re Est. of Barfield, 736 A.2d 991, 994 (D.C. 1999), “a plaintiff must furnish more than

labels and conclusions or a formulaic recitation of the elements of a cause of action.” Boyd v.

Chertoff, 540 F. Supp. 2d 210, 215 (D.D.C. 2008).4 Similarly, a court need not “accept as true a

legal conclusion couched as a factual allegation,” Jenkins v. Jackson, 538 F. Supp. 2d 31, 33

(D.D.C. 2008) (quoting Papasan v. Allain, 478 U.S. 265, 286, 106 S.Ct. 2932, 92 L.Ed.2d 209

(1986)), nor must it “accept inferences drawn by plaintiffs if such inferences are unsupported by

the facts set out in the complaint.” Kowal v. MCI Commc’ns Corp., 16 F.3d 1271, 1276 (D.C. Cir.

1994).

                                 ARGUMENTS AND AUTHORITIES

          Both of OAN’s counterclaims against Dominion must be dismissed under Rule 12(b)(6)

because both depend on the bare legal conclusion, unsupported by any legally sufficient factual

allegations, that Kennard was Dominion’s agent. Count 1 also fails for an additional reason:

OAN’s conspiracy theory that Kennard supposedly orchestrated a campaign—to destroy OAN by

pressuring the media and others to disparage and distance themselves from OAN—is not only

legally and factually unsupported, but is actually rebutted by OAN’s own factual allegations and

the very documents OAN attaches to its Amended Counterclaims. And Count 2 must be dismissed




4
    All internal quotes and citations omitted, and all emphasis added, unless otherwise noted.


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for the additional reason that OAN has failed to plead facts supporting an independent wrongful

act, which is required to support a claim for interference with business expectancy.

I.      OAN Alleges No Facts to Support the Legal Conclusion That Kennard Is Dominion’s
        Agent, Which Is Fatal to Both Causes of Action.

        OAN fails to allege any facts supporting a claim of tortious interference by Dominion itself,

whether with the agreement’s non-disparagement or confidentiality provisions (Count 1) or with

DIRECTV’s decision not to renew the agreement (Count 2).5 Instead, both of OAN’s claims

against Dominion are premised on the (false) legal conclusion that Kennard tortiously interfered

with OAN’s agreement and business expectancy and that he did so as Dominion’s “agent.”6 In

support of its Kennard-as-agent theory, OAN alleges only that Kennard was a “founding investor”

and “serves as a member of the Operating Executive Board of Directors of Staple Street, which is

the majority owner of US Dominion, Inc.” Am. Countercls. ¶¶ 78-79. Even if these allegations

were true (they are not), they are insufficient to establish an agency relationship between Kennard

and Dominion (or Staple Street) as a matter of law: directors are not even agents of the corporation

on whose board they sit (much less agents of subsidiaries of that corporation, as OAN asserts with

respect to Dominion). See Mgmt. Techs., Inc. v. Morris, 961 F. Supp. 640, 651 (S.D.N.Y. 1997)

(“Directors are not agents of the corporation and have no authority as directors to act on its

behalf.”); Arnold v. Soc’y for Sav. Bancorp, Inc., 678 A.2d 533, 539 (Del. 1996) (“Directors, in


5
  OAN also asserts that Dominion “used governmental agencies to unlawfully censor speech” but does not
bring a cause of action based on that meritless allegation. Am. Countercls. ¶ 13.
6
   See Am. Countercls. ¶ 154 (“Counterclaim Defendants, through the actions of their agent
Kennard…sought to further their goal of destroying Herring by pressuring AT&T and DIRECTV to ensure
non-renewal of OAN, breaching the disparagement and confidentiality provisions of the Agreement in the
process.”); ¶ 155 (“As a result of the pressure imposed by Counterclaim Defendants, through their agent
Kennard, AT&T and DIRECTV breached the confidentiality provision of the Agreement by leaking the
details of the carriage agreement in announcing non-renewal”); ¶ 156 (“as a result of the pressure imposed
by Counterclaim Defendants, through their agent Kennard, AT&T and its agents and affiliates breached
the non-disparagement provision in the Agreement by repeatedly disparaging OAN”); ¶ 163 (“Kennard
(for the benefit of Counterclaim Defendants) used his influence at AT&T to persuade DIRECTV to change
the status quo and non-renew the Agreement”).


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the ordinary course of their service as directors, do not act as agents of the corporation, however.”).

OAN’s allegation that Kennard was an investor in Staple Street and that a reporter asked him about

his relationship with Dominion are likewise wholly irrelevant because being an investor (let alone

an investor in a different company) is also legally insufficient to render someone an agent. See

Wenske v. Blue Bell Creameries, No. 2017-0699-JRS, 2018 WL 5994971, at *6 n.44 (Del. Ch.

Nov. 13, 2018) (“The mere ownership of the capital stock of one corporation by another does not

create … the relationship of principal and agent, or representative, or alter ego between the two.”);

Columbus Univ. v. Tummala, No. 2:13-cv-5745, 2022 WL 1492167, at *6 (C.D. Cal. Feb. 8, 2022)

(“a shareholder is not an agent or representative of the corporation unless expressly or impliedly

authorized as such”); Harlem River Consumers Co-op., Inc. v. Associated Grocers of Harlem, Inc.,

408 F. Supp. 1251, 1270 (S.D.N.Y. 1976) (“As a general matter, the fact that a person is a

shareholder does not give him authority to act for the corporation.”).

       Beyond the factually incorrect and legally insufficient factual allegations that Kennard

invested in Staple Street and served on its “Operating Executive Board of Directors”, OAN’s

allegations of “agency” consist of mere labels, not facts. See Am. Countercls. ¶¶ 96, 110, 127,

154-56, 169-73, and 178-79. “[A] plaintiff must plead facts that plausibly support an inference

that an agency relationship existed in order to survive a Rule 12(b)(6) motion.” Jefferson v.

Collins, 905 F.Supp.2d 269, 285 (D.D.C. 2012). Merely asserting “the existence of an agency

relationship is a legal conclusion, which the court need not accept unless it is supported by factual

allegations.” Slinski v. Bank of Am., N.A., 981 F. Supp. 2d 19, 31 (D.D.C. 2013); FDS Rest., Inc.

v. All Plumbing Inc., 241 A.3d 222, 237 (D.C. 2020) (“Whether a relationship is one of agency is

a legal conclusion made after an assessment of the facts of the relationship and the application of

the law of agency to those facts.”); Grell v. Trump, 330 F. Supp. 3d 311, 316 (D.D.C. 2018)




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(“Courts evaluating a motion to dismiss must accept as true all of the complaint’s factual

allegations but need not do so for bare legal conclusions.”).

       Courts have repeatedly dismissed lawsuits like this one—where the claims depended on an

agency finding but there were no facts pleaded to establish such a relationship. See, e.g., Jefferson,

905 F. Supp. 2d at 285 (dismissing count that depended on the existence of an agency relationship

where plaintiffs “advance[d] only a conclusory allegation” of agency and the complaint did “not

give rise to a reasonable inference of an agency relationship.”); Acosta Orellana v. CropLife Int’l,

711 F. Supp. 2d 81, 112 (D.D.C. 2010) (“Because the plaintiffs have failed to adequately plead the

essential element of control, their claim that the [] Defendants are liable under agency principles

must be dismissed.”).

       In sum, OAN fails to allege any wrongdoing by Dominion itself and fails to allege any

facts sufficient to support its agency theory. Standing alone, this requires dismissal of both

Amended Counterclaims against Dominion (Counts 1 and 2).

II.    OAN Fails to Plead a Plausible Theory of Dominion Tortiously Interfering with
       Others’ Contractual Non-Disparagement Obligation to OAN (Count 1).

       In Count 1, OAN alleges that Dominion (wholly through Kennard-as-agent) interfered with

the non-disparagement provision and the confidentiality provision of OAN’s agreement with

DIRECTV. See, e.g., Am. Countercls. ¶ 115. Specifically, OAN alleges that “from April 2020

through mid-2021, AT&T Services’ representatives openly disparaged OAN through CNN and

HBO, which AT&T at the time owned via its WarnerMedia division.” Am. Countercls. ¶ 56.7

OAN lists examples such as CNN anchors calling OAN a “poisoned informational well,” and John



7
 It is not entirely clear from the Amended Counterclaims whether OAN is alleging that Dominion is liable
for the supposed breaches of the Agreement by AT&T Services. But as OAN has devoted multiple pages
of both its original and Amended Counterclaims to this theory, Dominion addresses its flaws in an
abundance of caution.


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Oliver’s description of OAN as “Fox News with even less shame and even fewer scruples.” Am.

Countercls. ¶¶ 57, 61. OAN asserts that Dominion and Staple Street are somehow responsible for

John Oliver making fun of OAN on the air because “through the actions of their agent

Kennard…[they] sought to further their goal of destroying [OAN] by pressuring AT&T and

DIRECTV to ensure non-renewal of OAN, breaching the disparagement … provision[].” Am.

Countercls. ¶ 115. This facially ridiculous and implausible theory is doomed for at least two

separate reasons.

       First, OAN fails to tie Dominion to this claim even under the “Kennard-as-agent” theory.

OAN details how various television personalities criticized OAN, including for its role in inciting

the Capitol riot on January 6th. Am. Countercls. ¶¶ 56-64. But OAN completely fails to link

Dominion (or even Kennard-as-agent) in any way to the criticism leveled at OAN by various media

personalities who are not even alleged to be employed by AT&T or DIRECTV.

       Second, OAN’s proposed contract construction conflicts with the text of the agreement and

is commercially nonsensical. The agreement provides:

               [T]he Parties, the AT&T Related Parties, the Programmer Related
               parties, and their respective Representatives during the Term of this
               Agreement and for two (2) years thereafter, shall not directly or
               indirectly (or encourage, suggest or organize any other individual,
               entity or third party or their Representatives to) (1) disparage
               (including, without limitation, via the Services, blogging, social
               media, press interviews and/or any public statement) the other Party,
               the Programmer Related Parties, the AT&T Related parties, and/or
               their respective Representatives ….

Amended Countercls. Ex. B. For OAN’s theory to work, TV personalities who are not employed

by—and do not answer to—DIRECTV or AT&T must be deemed “AT&T Representatives.” This

is preposterous for several reasons.

       First, the agreement simply does not state that CNN or HBO or their on-air personalities

fall under the non-disparagement provision, nor does the definition of “Representatives” in the


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Agreement. Contracts are interpreted under their plain meaning, and the plain meaning of this

provision simply does not say what OAN urges. Coast Plaza Drs. Hosp. v. Blue Cross of Cal., 83

Cal. App. 4th 677, 684 (Cal. App. 2000), as modified (Sept. 7, 2000) (“In interpreting an

unambiguous contractual provision we are bound to give effect to the plain and ordinary meaning

of the language used by the parties.”); see AIU Ins. Co. v. Superior Ct., 51 Cal. 3d 807, 814, 799

P.2d 1253 (Cal. 1990) (“under established principles of contract interpretation, we construe policy

language according to the mutual intentions of the parties and its ‘plain and ordinary’ meaning”).8

If OAN wanted to make the facially absurd—and constitutionally suspect—argument that AT&T’s

agreement somehow prohibits John Oliver, CNN, Reuters, Jake Tapper, Brian Stelter, Oliver

Darcy, Max Boot, and the rest of the media from making fun of OAN or criticizing its role in

inciting viewers to sack the United States Capitol, OAN was required to point to contractual

provisions that can plausibly support that contention. It has not done so (and cannot do so).

        Second, it is a fundamental principle of contract interpretation that the construction must

account for the commercial purposes of the agreement. Starlight Ridge S. Homeowners Ass’n v.

Hunter-Bloor, 177 Cal. App. 4th 440, 447, 99 Cal. Rptr. 3d 20, 25 (2009) (“The mutual intention

of the contracting parties at the time the contract was formed governs…. We ascertain that

intention solely from the written contract, if possible, but also consider the circumstances under

which the contract was made and the matter to which it relates.”). It makes no commercial sense

that AT&T would expose itself to liability when any one of the thousands of on-air personalities

(employed or contracted for by other entities) said anything negative about OAN. Pro Water Sols.,

Inc. v. Angie’s List, Inc., No. 2:19-cv-08704-ODW, 2021 WL 4288520, at *4 (C.D. Cal. Sept. 21,

2021) (dismissing breach of contract claim where “concluding that Defendants breached their


8
  The Agreement is governed by California law, and accordingly, Dominion cites principles of California law relating
to its interpretation.


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contracts” would “require[] an interpretation of the contracts that is unreasonable”); see also

Bedrosian v. Tenet Healthcare Corp., 208 F.3d 220 (9th Cir. 2000) (affirming dismissal of breach

of contract claim where terms were unambiguous).

       Following pages of allegations detailing how everyone in the media from John Oliver to

Max Boot was criticizing OAN and its role in inciting January 6th, OAN alleges that AT&T’s

chairman, Kennard, received “lots of outraged emails and texts” about a story blaming AT&T “for

the rise of pro-Trump One America News.” Am. Countercls. ¶ 68. While OAN seeks to

characterize Kennard’s response to that outrage as disparaging OAN on behalf of Dominion and

Staple Street in supposed breach of his fiduciary duty to AT&T (Am. Countercls. ¶ 154), the

communications themselves—which are attached and incorporated into OAN’s Amended

Counterclaims—reveal just the opposite: Kennard, as AT&T’s Chairman, was communicating

privately with AT&T officers about damage control and responding privately to people who were

threatening to cut ties with AT&T because they had already come to believe—from the extensive

media criticism—that OAN was toxic. (See Exs. C, E, F, G, H, I to Am. Countercls.) In context,

such communications can hardly be said to rise to the level of a breach of the non-disparagement

provision by AT&T—let alone by non-parties Dominion or Staple Street, and courts do not hesitate

to dismiss non-disparagement allegations against non-parties to the relevant agreement. See, e.g.,

Guttenberg v. Emery, 68 F.Supp.3d 184, 186-87 (D.D.C. 2014) (“The Court entirely removed

Borg–Emery from the case on the ground that she was not a party to the dentists’ settlement

agreement (and hence was not bound by its non-disparagement clause)”).

III.   OAN Fails to Plead a Plausible Theory of Dominion Tortiously Interfering with
       DIRECTV’s Confidentiality Obligation to OAN (Count 1).

       OAN’s second tortious interference theory in Count 1 is that it was a breach of the

confidentiality provision in the Agreement for “DIRECTV [to] provide confidential information



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regarding the parties’ discussions on the non-renewal of the Agreement to Bloomberg, writing via

email that it had ‘informed Herring Networks that, following a routine internal review, we do not

plan to enter into a new contract when our current agreement expires.’” Am. Countercls. ¶ 121.

OAN again depends on the factually unsupported legal conclusion that Kennard was Dominion’s

agent. But OAN also fails to allege any facts that would tie Dominion or Kennard-as-Dominion’s-

supposed-agent to this supposed leak of confidential information. And there are several other fatal

flaws that independently doom this theory.

       Most glaringly, OAN pleads that it was DIRECTV—which has its own board, of which

Kennard is not a member—that allegedly made the decision to send information about the non-

renewal to the press. Am. Countercls. ¶¶ 122, 123 (“The gratuitous announcement by DIRECTV

also constituted a breach of the confidentiality provision in the Agreement, which DIRECTV has

admitted in its answer in the San Diego Litigation.”) (emphasis in original). OAN’s Amended

Counterclaims are written as if every decision by DIRECTV is automatically imputed to AT&T,

(then to Kennard, then to a defunct Staple Street entity, and finally to Dominion), but that is not

how it works. To impute decisions across separate companies, a plaintiff needs to allege facts

supporting veil piercing or a related theory; but OAN alleges so such facts. See, e.g., Gerritsen v.

Warner Bros. Ent. Inc., 116 F. Supp. 3d 1104, 1136 (C.D. Cal. 2015) (plaintiff failed to plausibly

allege claims against parent; to overcome a presumption of separateness afforded to related

corporations, “conclusory allegations of ‘alter ego’ status are insufficient”). Without allegations

of action by Kennard or facts supporting a veil piercing theory, OAN cannot tie Kennard (let alone

Dominion or Staple Street) to any action that DIRECTV took.




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IV.    OAN Fails to Plead a “Wrongful Act” to Support Its Tortious Interference with
       Contractual Expectation Claim (Count 2).

       OAN’s claim against Dominion for tortious interference with prospective contractual

relationship (Count 2) fares no better. That claim fails because OAN cannot plead a legally-

cognizable “wrongful act” to support a tortious interference claim. See, e.g., Korea Supply Co. v.

Lockheed Martin Corp., 29 Cal. 4th 1134, 1158-59, 63 P.3d 937, 953 (Cal. 2003) (“To establish a

claim for interference with prospective economic advantage[,] a plaintiff must plead that the

defendant engaged in an independently wrongful act…. An act is independently wrongful if it is

unlawful, that is, if it is proscribed by some constitutional, statutory, regulatory, common law, or

other determinable legal standard.”).     OAN simply asserts—without any supporting factual

allegations—that Kennard breached his fiduciary duty to AT&T by supposedly pressuring

DIRECTV to drop OAN. This assertion fails for several reasons.

       First, OAN baldly asserts—without supporting factual allegations—that “Kennard’s role

as Chairman of AT&T’s Board gives Kennard significant influence over AT&T, its subsidiaries,

and the companies its own majority stakes in.” Am. Countercls. ¶ 88. But OAN fails to allege

any facts plausibly supporting an inference that Kennard actually had or exerted such alleged

influence over DIRECTV. OAN has alleged no facts suggesting that, as a single director, Kennard

had any power to dictate what AT&T’s corporate policy would be, let alone to dictate the corporate

decisions of a separate company like DIRECTV. In fact, the very portion of the AT&T bylaws

included in OAN’s Amended Counterclaims specifically states that Kennard will have authority

to act on behalf of AT&T only in a “meeting of stockholders, or with respect to any action of

stockholders”—very specific situations which OAN does not allege occurred at any relevant time.

Am. Countercls. ¶ 88. Nor has OAN pleaded any facts to suggest that DIRECTV’s board—who

OAN itself alleges made the decision to not renew—was improperly influenced by Kennard, and



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OAN pleads no veil piercing allegations or indicia of wrongful control. See Gerritsen, 116 F.

Supp. 3d at 1137. Nor does OAN make any factual allegations to overcome the presumption of

corporate separateness that companies are entitled to. OAN’s legal conclusions are not substitutes

for factual allegations.

        Second, OAN tacitly admits that it has no facts to support its conspiracy theory, writing

“Herring is confident that discovery will further demonstrate that Kennard, working as an agent

for both Staple Street and [Dominion], was directly involved in DIRECTV’s decision to non-renew

OAN[.]” Am. Countercls. ¶ 127. But OAN’s speculation about what discovery might reveal is

insufficient to support a claim. See, e.g., Croton Watch Co. v. Nat’l Jeweler Mag., Inc., No. 06-

CV-662, 2006 WL 2996449, at *2 (S.D.N.Y. Oct. 16, 2006) (“Plaintiff’s mere, unsubstantiated

hope that discovery may yield evidence [to support its claim] is insufficient to withstand a motion

to dismiss.”); Haskell v. Time, Inc., 857 F. Supp. 1392, 1398 (E.D. Cal. 1994) (plaintiff’s “hope

that discovery will somehow turn up favorable [evidence] is not sufficient to deprive defendants

of their opportunity to avoid the burdens of discovery through a motion to dismiss”); In re

Kunstler, 914 F.2d 505, 515 (4th Cir. 1990) (party cannot “use discovery to support ... claims for

which there is no [current] factual support”).

        Finally, above and beyond the fact that Kennard was not an agent for Dominion or Staple

Street, OAN’s pleadings do not come anywhere close to stating a claim that Kennard ever breached

a fiduciary duty to AT&T. Notably, OAN does not allege that AT&T or its shareholders have ever

filed a lawsuit alleging that Kennard pressured DIRECTV to drop OAN—let alone that doing so

would have constituted a breach of fiduciary duty to AT&T. Legally, as a director of a Delaware

corporation (AT&T), Kennard is entitled to the protection of the business judgment rule. The

business judgment rule “is a presumption that in making a business decision the directors of a




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corporation acted on an informed basis, in good faith and in the honest belief that the action taken

was in the best interests of the company.” Orman v. Cullman, 794 A.2d 5, 19-20 (Del. Ch. 2002).

“The burden is on the party challenging the decision to establish facts rebutting the presumption.”

Id. OAN’s own factual allegations about the media firestorm over OAN’s toxic brand and

Kennard’s private attempts to do damage control in response to people’s outrage over AT&T’s

perceived connection to OAN do not support the plausible inference that Kennard was violating

any fiduciary duty to AT&T, but that his actions were motivated by a desire to protect AT&T from

OAN’s toxic brand.

       For all of the above reasons, OAN has failed to sufficiently plead a breach of fiduciary

duty, and having failed to plead any other independently wrongful act, Count 2 must be dismissed.

                                         CONCLUSION

       OAN’s Amended Counterclaims fail to allege any wrongdoing by Dominion itself and fail

to allege any facts to support a finding that Kennard was Dominion’s agent, dooming both Counts.

Counts 1 and 2 are also legally and factually unsupported for the reasons set forth above. OAN’s

Amended Counterclaims should be dismissed, and Dominion respectfully requests the Court’s

guidance on whether a motion for attorneys’ fees and costs would be well-received.




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                                                 Respectfully Submitted,

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